                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 NORTH CAROLINA STATE
 CONFERENCE OF THE NAACP, et al.,

                  Plaintiffs,

        v.                                     CASE NO. 1:18-cv-01034

 ALAN HIRSCH, in his official capacity
 as Chair of the North Carolina State
 Board of Elections, et al.,

                  Defendants,

        and

 DESTIN C. HALL, et al.,

                  Legislative Defendant-
                  Intervenors.

                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that, Special Deputy Attorney General Mary L.

Lucasse, hereby enter her notice of appearance as counsel for Defendants Alan Hirsch,

Jeff Carmon, III, Stacy “Four” Eggers, IV, Kevin N. Lewis, and Siobhan O’Duffy Millen,

sued in their official capacities as Members of the State Board of Elections (collectively

“State Board Defendants”). The undersigned certify that she is a member in good

standing with the bar of the state of North Carolina and is admitted to practice law in the

United States District Court for the Middle District of North Carolina.

                                  [Signature Page Follows]




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  Respectfully submitted this the 28th day of April, 2025.


                                    DEPARTMENT OF JUSTICE


                                    /s/ Mary L. Lucasse
                                    Mary L. Lucasse
                                    Special Deputy Attorney General
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                                    Counsel for State Defendants




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                              CERTIFICATE OF SERVICE

       I certify that the foregoing NOTICE OF APPEARANCE OF COUNSEL was filed

electronically with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record in this matter.


       This the 28th day of April, 2025.



                                            /s/ Mary L. Lucasse
                                            Mary L. Lucasse
                                            Special Deputy Attorney General




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